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                                                         THE HONORABLE THOMAS S. ZILLY
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 4

 5                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 6

 7   HUNTERS CAPITAL, LLC, a Washington              Case No. 2:20-cv-00983 TSZ
     limited liability company, NORTHWEST
 8   LIQUOR AND WINE LLC, a Washington               DECLARATION OF TYLER WEAVER
     limited      liability     company,      SRJ    IN SUPPORT OF OPPOSITION TO
 9   ENTERPRISES, d/b/a CAR TENDER, a                CITY OF SEATTLE’S MOTION FOR A
     Washington            corporation,      THE     STAY OF DISCOVERY
10   RICHMARK              COMPANY           d/b/a
     RICHMARK LABEL, a Washington
11   company, SAGE PHYSICAL THERAPY
     PLLC, a Washington professional limited         Noted: September 25, 2020
12
     liability company, KATHLEEN CAPLES,
13   an individual, ONYX HOMEOWNERS
     ASSOCIATION, a Washington registered
14   homeowners association, WADE BILLER,
     an individual, MADRONA REAL
15   ESTATE SERVICES LLC, a Washington
     limited liability company, MADRONA
16   REAL ESTATE INVESTORS IV LLC, a
     Washington limited liability company,
17   MADRONA                REAL          ESTATE
     INVESTORS VI LLC, a Washington
18
     limited liability company, 12TH AND PIKE
19   ASSOCIATES LLC, a Washington limited
     liability company, REDSIDE PARTNERS
20   LLC, a Washington limited liability
     company, MAGDALENA SKY, an
21   individual, OLIVE ST APARTMENTS
     LLC, a Washington limited liability
22   corporation, BERGMAN’S LOCK AND
     KEY SERVICES LLC, a Washington
23   limited liability company, MATTHEW
24   PLOSZAJ, an individual,            ARGENTO
     LLC, a Washington limited liability
25   company, RANCHO BRAVO, INC., a
     Washington corporation, SWAY AND

     DECLARATION OF TYLER WEAVER                                                    LAW OFFICES
27   IN SUPPORT OF OPPOSITION TO CITY OF                                        CALFO EAKES LLP
     SEATTLE’S MOTION FOR A STAY OF                                      1301 SECOND AVENUE, SUITE 2800
                                                                           SEATTLE, WASHINGTON 98101
     DISCOVERY                                                          TEL (206) 407-2200 FAX (206) 407-2224
28
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      CAKE LLC, a Washington limited liability
 1    company, SHUFFLE LLC d/b/a Cure
      Cocktail, a Washington limited liability
 2
      company, on behalf of themselves and
 3    others similarly situated,

 4                               Plaintiffs,

 5           vs.

 6    CITY OF SEATTLE,
                                 Defendant.
 7

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 9          I, Tyler Weaver, declare as follows:
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11          1.     I am an attorney with Calfo Eakes LLP and represent Plaintiffs in the above-

12   captioned action. I am over eighteen years of age and am competent to testify herein. I make the

13   following statements based on my personal knowledge.

14          2.      I have already met and conferred about discovery with counsel for the City of

15   Seattle three times in this case. The first was on August 17, 2020, when the parties held their

16   Rule 26(f) conference (which was the same day our opposition to the City’s motion to dismiss

17   was due). During that conference, we made clear to opposing counsel that we would not agree

18   to a stay of discovery pending a resolution on the motion to dismiss, and we also discussed the

19   five departments of the City that we believe are most likely to have relevant information.

20          3.     We served our discovery requests on August 31, 2020 and had another discovery

21   conference with the City’s counsel on September 9, 2020, at the City’s request. The City had not

22   indicated in their request for a meeting that it wanted Plaintiffs to designate custodians (or

23   believed we had to do so), so we did not have a list ready, but we again discussed the five

24   departments we felt would be the most likely to have relevant information, and the heads of those

25   various departments. We followed that up the next day, on September 10, 2020, with an email


     DECLARATION OF TYLER WEAVER                                                       LAW OFFICES
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                                                                              SEATTLE, WASHINGTON 98101
     DISCOVERY                                                             TEL (206) 407-2200 FAX (206) 407-2224
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 1   reiterating that custodians would need to include the heads of those five departments, as well as

 2   the custodian(s) of complaints in those departments. We also asked the City to work with us to

 3   identify additional custodians, and to provide us with organizational charts for those five

 4   departments, which the City has not done. A true and correct copy of my September 10 email is

 5   attached to this declaration as Exhibit 1.

 6         4.      I also made it clear in on our September 9, 2020 phone call that Plaintiffs are not

 7   interested in searching every possible custodian in the City for email or other documents related

 8   to CHOP or CHAZ.

 9         5.      We also met and conferred with the City on September 16, 2020, about our

10   proposed ESI agreement, as well as several issues related to our discovery requests. That

11   included, again, discussions about custodians. I asked counsel directly if the City intended to

12   designate any custodians beyond what we had already specified, and counsel did not commit to

13   doing anything to helping with custodian designations. However, I remain hopeful that the City

14   will be more cooperative as the process develops.

15         6.      During that same call on September 16, we agreed to provide preliminary search

16   terms (although it is unclear if we are required to do so) for the City to consider, as well as

17   consider some basic limitations on discovery. We specifically discussed the City’s concern that

18   we might be interested in every utility bill sent to residents of CHOP, or every order for routine

19   utility work in CHOP. I assured them that we are not.

20         7.      The discovery requests that Plaintiffs served on the City do not seek any

21   information that we would not seek on behalf of these same clients, and on these same legal

22   theories, if this case was not a putative class action. The information we seek is relevant to

23   establishing the City’s liability, especially at uncovering all of the City’s affirmative acts, and a

24   single plaintiff would have to seek the same information.

25

     DECLARATION OF TYLER WEAVER                                                          LAW OFFICES
27   IN SUPPORT OF OPPOSITION TO CITY OF                                              CALFO EAKES LLP
     SEATTLE’S MOTION FOR A STAY OF                                            1301 SECOND AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101
     DISCOVERY                                                                TEL (206) 407-2200 FAX (206) 407-2224
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 1          8.      Plaintiffs filed two state-law tort claims (nuisance and negligence) with the City

 2   on August 21, 2020. A true and correct copy of selected pages of that filing is attached to this

 3   declaration as Exhibit 2.

 4          I declare under the penalty of perjury under the laws of the State of Washington that the

 5   foregoing is true and correct.

 6

 7          DATED this 21st day of September, 2020 at Seattle, Washington.

 8                                                  s/ Tyler Weaver
                                                      Tyler Weaver
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     DECLARATION OF TYLER WEAVER                                                        LAW OFFICES
27   IN SUPPORT OF OPPOSITION TO CITY OF                                            CALFO EAKES LLP
     SEATTLE’S MOTION FOR A STAY OF                                          1301 SECOND AVENUE, SUITE 2800
                                                                               SEATTLE, WASHINGTON 98101
     DISCOVERY                                                              TEL (206) 407-2200 FAX (206) 407-2224
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                Exhibit 1
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REDACTED                                                    REDACTED                                                                                        REDACTED
                                                                                                                                                           REDACTED



REDACTED

REDACTED




REDACTED




                                                                 REDACTED
From: Tyler Weaver
Sent: Thursday, September 10, 2020 5:08 PM
To: Kristin Ballinger <kristinb@harriganleyh.com>; Andrew DeCarlow <andrewd@calfoeakes.com>
Cc: Tyler Farmer <tylerf@harriganleyh.com>; Groshong, Joseph <Joseph.Groshong@seattle.gov>; Florine Fujita
<florinef@harriganleyh.com>; Kellie McDonald <KellieM@harriganleyh.com>; Art Harrigan <harrigan@seanet.com>;
Caitlin Pratt <caitlinp@harriganleyh.com>
Subject: RE: Hunters Capital LLC v City of Seattle. Model ESI Agreement

We are available to talk on Wednesday the 16th between 10 to 11 and 1 to 3. Let us know if either of those windows will
work.

With regard to custodians, it’s our understanding of the ESI protocol that each party is supposed to suggest custodians
on their side that they believe will have relevant information. That said, as we said yesterday and in our initial call, and
indicated in our requests, we are primarily interested in the Mayor’s office, the fire department, the police department,
the city transportation department, and public utilities.

In each of those departments, we need the head of each department (Durkan, Best, Scroggins, etc.), the person or
people in charge of receiving complaints, and most likely one or two additional custodians from each department.

The City could assist substantially in the process by sending us the organization charts for each of these five departments
so that we have a common basis to work from.




Tyler Weaver
CALFO EAKES LLP
1301 Second Avenue, Suite 2800 | Seattle, WA 98101
T: 206 407 2237 | www.calfoeakes.com
Notice: this internet e-mail message may contain confidential, privileged information that is intended only for the addressee. If you have received this e-mail
message in error, please call us immediately at (206) 407-2210 and ask to speak to the message sender. Thank you. We appreciate your assistance in
correcting this matter.


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From: Kristin Ballinger <kristinb@harriganleyh.com>
Sent: Wednesday, September 9, 2020 4:35 PM
To: Tyler Weaver <TylerW@calfoeakes.com>; Andrew DeCarlow <andrewd@calfoeakes.com>
Cc: Tyler Farmer <tylerf@harriganleyh.com>; Groshong, Joseph <Joseph.Groshong@seattle.gov>; Florine Fujita
<florinef@harriganleyh.com>; Kellie McDonald <KellieM@harriganleyh.com>; Art Harrigan <harrigan@seanet.com>;
Caitlin Pratt <caitlinp@harriganleyh.com>
Subject: Hunters Capital LLC v City of Seattle. Model ESI Agreement

Hi Tyler and Andrew,

Here is a Word version of the Court’s 2020 Model ESI agreement and a Word version of the agreement redlined against
the older version. Let us know good times for you next week to discuss the agreement and perhaps even
implementation of the agreement as to your pending RFPs.

I’ve copied on this email Caitlin Pratt (our associate), Florine Fujita (our legal assistant), and Kellie McDonald (our
paralegal), all of whom should probably be on any emails to our firm about the case.

Thanks very much,
Kristin

Kristin Ballinger
HARRIGAN LEYH FARMER & THOMSEN LLP
999 Third Avenue, Suite 4400 | Seattle, WA 98104
T: 206 294 7418 | F: 206 623 8717
Chambers USA | Best Lawyers | LinkedIn
www.harriganleyh.com




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                Exhibit 2
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REDACTED


        REDACTED
                                                      REDACTED
From: City Clerk Filing <CityClerkFiling@Seattle.gov>
Sent: Friday, August 21, 2020 1:19 PM
To: Lixi Colmenero <LixiC@calfoeakes.com>
Subject: RE: Hunters Capital LLC, et al. v. City of Seattle

Good afternoon, and thank you for your e‐mail. Your documents have been forwarded to the City Attorney’s Office for
follow‐up.

Sincerely,



                 Janet Polata
                 Information Services Supervisor
                 Office of the City Clerk, Legislative Department
                 O: 206‐684‐8344 | CityClerk@seattle.gov




From: Lixi Colmenero <LixiC@calfoeakes.com>
Sent: Friday, August 21, 2020 1:11 PM
To: City Clerk Filing <CityClerkFiling@Seattle.gov>
Cc: Angelo Calfo <angeloc@calfoeakes.com>; Tyler Weaver <TylerW@calfoeakes.com>; Andrew DeCarlow
<andrewd@calfoeakes.com>; Henry Phillips <HenryP@calfoeakes.com>; Nancy Carriaga <NancyC@calfoeakes.com>;
Patty Ahearn <PattyA@calfoeakes.com>
Subject: Hunters Capital LLC, et al. v. City of Seattle

                                                     CAUTION: External Email
Good Afternoon,

On behalf of Calfo Eakes LLP, attached please find a Claim for Damages in regards to the above‐mentioned matter.

Please feel free to contact our office should you have any questions.

Thank you,

Lixi Aylin Colmenero | Legal Assistant
CALFO EAKES LLP
1301 Second Avenue, Suite 2800 | Seattle, WA 98101-3808
T: 206 407-2242 | Email: lixic@calfoeakes.com | www.calfoeakes.com



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    ATTACHMENT A TO CLAIM FOR HUNTERS CAPITAL, LLC, ET. AL.


       This claim is submitted on behalf of the individuals and entities (“the Named
Claimants”) listed in the attached First Amended Class Action Complaint (“the
FAC”) that has been filed in the Western District of Washington in Case No. 2:20-
cv-00983 TSZ. It is also submitted on behalf of the following Class: All persons
or entities who own property in, have a business in, or reside in the area in the City
of Seattle bounded by Denny Way, Union Street, Thirteenth Avenue, and East
Broadway. The Class excludes the City of Seattle and any departments or agencies
of the City of Seattle.

        The precise locations for each Named Claimant are as listed in paragraphs
14 through 32 of the FAC. Facts specific to each Named Claimant’s injuries are
listed in paragraphs 80 through 172 of the FAC. Facts generally applicable to all
Named Claimants and all members of the Class are described throughout the FAC,
including in paragraphs 35 to 79 and 173 to 184.
      The damages suffered by each Named Claimant and member of the Class
are described throughout the FAC, and especially in paragraphs 30 to 179 of the
FAC and the causes of action stated in the FAC. The Named Claimants do not
presently know the full amount of damages that they have suffered, and the
damages from the City’s actions are ongoing.
       In addition to the causes of action stated in the FAC, the Named Claimants
on behalf of themselves and the Class contend that in addition to the causes of
action stated in the FAC, the facts described in the FAC give rise to a cause of
action for damages pursuant to the theories of nuisance and negligence.
       With regard to nuisance, the Named Claimants state on behalf of themselves
and the Class that they were harmed by a nuisance under RCW 7.48.010, et. seq..
As a direct result of the City’s actions, foot and vehicular traffic on the public
streets, sidewalks, and other right of ways surrounding Plaintiffs’ businesses and
residences were physically blocked and/or impeded. The blocking and impeding of
foot and vehicular traffic substantially and unreasonably interfered with Plaintiffs’
use and enjoyment of their properties, including by blocking access to those
properties, and has caused harm to Plaintiffs, including by reducing property
values and resulting in lost revenues. The City directly participated in the creation
and maintenance of this nuisance, including by providing concrete barriers to be

              AttachmentAtoClaimFormforHuntersCapital,LLC,et.al.–Page1
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used for this specific purpose to the CHOP participants. In addition to blocking
public rights-of-way, the City’s actions created and maintained a series of unlawful
and/or unreasonable conditions, including excessive noise, public safety hazards,
vandalism, and poor health and sanitation conditions. Those conditions annoyed,
injured, and endangered the comfort, repose, health, and safety of Plaintiffs, and
rendered Plaintiffs insecure in the use of their properties. These conditions
substantially and unreasonably interfered with Plaintiffs’ use and enjoyment of
their properties, including by creating a reasonable fear among Plaintiffs of using
their properties, and caused harm to Plaintiffs, including by reducing property
values, inflicting property damage, and causing lost revenues.
       With regard to negligence, the Named Claimants state on behalf of
themselves and the Class that they were harmed by the City’s negligence. The
City’s affirmative actions as described in the FAC placed the Named Claimants
and the Class at substantial risk of foreseeable harm, including but not limited
property damage, lost income and revenue, excessive noise, public safety hazards,
vandalism, and decreased or lost access to their homes, properties, and businesses.
This created a duty for the City to protect the Named Claimants and the Class from
that foreseeable harm, a duty that the City breached. The City also owed the
Named Claimants and the Class a duty pursuant to at least Seattle Municipal Code
Chapter 15.52, which required the City to protect Named Claimants and the Class
from unreasonable risks of property damage and other harm and dangers by
designating an alternate proposal for those who wished to create and participate in
CHOP. The City also breached this duty. The City’s breach of its duties
proximately caused harm to Named Claimants and the Class, including but not
limited to property damage, lost income and revenue, exposure to excessive noise
and public safety hazards, increased expenses for security, and lost property value.
       There are thousands of witnesses to these events, and the Named Claimants’
investigation is ongoing. Witnesses that the Named Claimants can identify at this
time include the Named Claimants and their neighbors, customers, employees, and
tenants, as well as the following individuals employed by the City of Seattle:
      x   Mayor Jenny Durkan
      x   Chief of Police Carmen Best
      x   Seattle Fire Chief Harold Scoggins
      x   Seattle Department of Transportation Director Sam Zimbabwe
      x   The primary assistants and staff of each of the above

              AttachmentAtoClaimFormforHuntersCapital,LLC,et.al.–Page2
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